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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          No. 2:12-cr-00362-TLN
12                      Plaintiff,
13          v.                                          ORDER DENYING DEFENDANT’S
                                                        MOTION TO DISMISS THE
14   ALAN DAVID TIKAL                                   INDICTMENT
15                      Defendant.
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18          This matter is before the Court pursuant to Defendant Alan David Tikal’s (“Defendant”)

19   Motion to Dismiss the Indictment (ECF No. 194). Throughout the course of this case, Defendant

20   has continually argued that this Court lacks jurisdiction and venue to try his case. The Court has

21   heard such arguments numerous times and each time ruled that jurisdiction and venue are proper.

22   The Court’s interpretation of the law has not changed.

23          Pursuant to 18 U.S.C. § 3231, “[t]he district courts of the United States have original

24   jurisdiction, exclusive of the courts of the States, of all offences against the laws of the United

25   States.” Defendant was convicted of Mail Fraud in Violation of 18 U.S.C. § 1341, and Money

26   Laundering in Violation of 18 U.S.C. § 1957. (ECF No. 149.) As such, Defendant’s Motion to

27   Dismiss the Indictment (ECF No. 194) is hereby DENIED. Furthermore, to the extent that

28   Defendant’s motion intimates that he would prefer to represent himself in appealing this case,
                                                       1
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 1   Defendant is free to do so, and should direct any further motions to the Ninth Circuit.

 2          IT IS SO ORDERED.

 3   Dated: February 2, 2015

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                                                            Troy L. Nunley
 6                                                          United States District Judge
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